             Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 1 of 13



 1                                                       HONORABLE JOHN C. COUGHENOUR
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 7
 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT SEATTLE
10
11   CHARLES G. MOORE and KATHLEEN F.                   Civil Action No. 2:19-cv-01539 JCC
     MOORE,
12                                                      DECLARATION OF CHARLES G.
                    Plaintiffs,                         MOORE
13
            v.
14
     UNITED STATES OF AMERICA,
15
                    Defendant.
16
17
18          Pursuant to 28 U.S.C. § 1746, I, Charles G. Moore, declare and state as follows:
19          1.      I am over the age of 18 years and am competent to make this declaration. I have
20   personal knowledge of the facts stated herein, and if called as a witness, I could and would
21   competently testify thereto.
22          2.      I am married to Kathleen F. Moore, and we reside in King County, Washington.
23          3.      I spent much of my career working at Microsoft Corporation (“Microsoft”) in
24   Washington State as a software engineer.
25          4.      In 1991, I worked in Microsoft’s applications development division where I met
26   Ravindra Kumar Agrawal (“Ravi”). Ravi and I worked together on the Microsoft Word
27
      DECLARATION OF CHARLES G. MOORE - 1                             BAKER & HOSTETLER LLP
      CASE NO.: 2:19-CV-01539 JCC                                     999 Third Avenue, Suite 3600
                                                                      Seattle, WA 98104-4040
                                                                      Telephone: (206) 332-1380
             Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 2 of 13



 1   conversions team and then went on to work together on the Microsoft Office team. While working

 2   together, we became friends.

 3           5.     After one of Ravi’s regular trips to India in the early 2000s, Ravi told me that he

 4   noticed that many small and marginal farmers in India used very simple and basic hand tools, ones

 5   that were far less efficient and effective than the tools available at Home Depot in the United

 6   States. In addition, Ravi noticed that people from the rural parts of India were increasingly leaving

 7   those areas and moving to cities, meaning there were fewer and fewer people available to perform

 8   farming and agricultural work, which drove up wages and farmers’ operating costs.

 9           6.     Ravi shared with me his idea of starting a business to provide small and marginal

10   farmers with more efficient and cost-effective tools and machines that would increase their

11   productivity, help them better perform their jobs, and reduce their operating costs. Ravi’s business

12   plan was motivated by his desire to help and serve small farmers and to establish a sustainable,

13   profitable business.

14           7.     Ravi assembled a business plan and formed an Indian Public Limited in 2005 called

15   KisanKraft Machine Tools Private Limited (“KisanKraft”). Later, the company’s name was

16   changed to KisanKraft Limited.

17           8.     Ravi approached a number of friends, including me, about investing in KisanKraft

18   in 2005 and 2006. When Ravi first approached me, I gave his business plan and investment

19   proposal significant thought. We discussed the short-term, mid-term, and long-term goals of

20   KisanKraft and agreed that the best way for the business to succeed in its social and business

21   missions would be for it to reinvest any earnings, expand geographically, and, perhaps one day,

22   experience a public offering or sale. I thought the probability of that happening was low, but Ravi

23   had a good business plan and was someone whom I trusted. Moreover, I thought KisanKraft was

24   formed for a noble purpose and had the potential to improve the lives of small and marginal farmers

25   in India.

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             Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 3 of 13



 1          9.      Kathleen and I invested in KisanKraft at its inception in 2006. At first, there were

 2   only a handful of shareholders, and Ravi, Sarika Agrawal (Ravi’s wife), and Kathleen and I

 3   contributed 99.5 percent of the start-up capital. Kathleen and I invested $40,000, which was

 4   approximately 11 percent of KisanKraft’s start-up capital. That was a lot of money for us, but we

 5   believed in Ravi’s idea and wanted to support him and see it to fruition.

 6          10.     Since KisanKraft’s inception, Ravi has lived in India, where he manages

 7   KisanKraft’s day-to-day operations. From 2006 to 2010, we spoke regularly, and he would give

 8   me updates on KisanKraft, including any new opportunities or developments such as a new tool

 9   or machine that he wanted to distribute. At the end of each year, Ravi would send me an annual

10   financial statement for KisanKraft.

11          11.     Ravi asked Kathleen and me several times to come visit India. He wanted to show

12   us around the country, and we wanted to see for ourselves how KisanKraft was doing.

13          12.     My first visit to India was in the fall of 2011. This visit was both a vacation and to

14   see how KisanKraft was doing. While in India, Ravi took me to KisanKraft’s main office, where

15   I met a number of KisanKraft employees.

16          13.     During subsequent visits to India, I met other employees of KisanKraft and toured

17   some of its branch offices and warehouses. I also met several dealers to which KisanKraft supplies

18   its tools, as well as a few farmers who use its tools.

19          14.     I remember that one dealer in particular was very proud of the income he earned

20   from selling KisanKraft’s products, which permitted him to send his daughter to college to study

21   electrical engineering.

22          15.     In total, I have visited India five times. My last trip was in 2016.

23          16.     To this day, Ravi regularly shares information with me about KisanKraft and its

24   business. While Ravi shares information with me, he has served as the decision maker and CEO

25   of KisanKraft since its inception.

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             Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 4 of 13



 1          17.     Since its inception, KisanKraft has not made any distributions of earnings to its

 2   shareholders. Instead, it has retained its earnings to grow its business and serve more customers.

 3          18.     Accordingly, I have never received a distribution, dividend, or other payment from

 4   KisanKraft.

 5          19.     Because KisanKraft reinvested its earnings, it does not have sufficient cash on hand

 6   to distribute its retained earnings from over the years to shareholders.

 7          20.     As a minority shareholder, I do not have the power to compel KisanKraft to make

 8   distributions to shareholders.

 9          21.     Ravi remains to this day committed to KisanKraft’s success. He spends a significant

10   amount of time managing KisanKraft and remains focused on growing its business and serving

11   small and marginal farmers.

12          22.     KisanKraft also has a corporate social responsibility policy. A true and correct copy

13   of that policy is attached as Exhibit A. Carrying out that policy, KisanKraft seeks to improve the

14   quality of life in communities in which it operates.

15          23.     Throughout 2017, Kathleen and I owned about 12.9 percent of KisanKraft’s

16   outstanding common shares.

17          24.     I first became aware of the Mandatory Repatriation Tax in the summer of 2018.

18   Ravi mentioned the tax to me and put me in touch with a CPA who prepared his returns.

19          25.     The CPA told me about the Mandatory Repatriation Tax and how we were

20   responsible for paying tax on KisanKraft’s deferred foreign earnings going back to 2006. I was

21   completely surprised. Having never received any income from KisanKraft, I certainly did not

22   expect to have to pay income tax just because we owned shares in it.

23          26.     The CPA said that, based on statements prepared by KisanKraft, the Mandatory

24   Repatriation Tax meant that we would be subject to taxation on our pro rata share of KisanKraft’s

25   retained earnings, which amounted to approximately $508,000.

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             Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 5 of 13



 1          27.     After receiving a deduction associated with the Mandatory Repatriation Tax, the

 2   CPA told me that our taxable income increase from the Mandatory Repatriation Tax was $132,512.

 3          28.     From the beginning, I had strong reservations about the Mandatory Repatriation

 4   Tax and thought that a new tax on earnings so far in the past that we hadn’t even received couldn’t

 5   possibly be constitutional. Nevertheless, I recognized the necessity of complying with my federal

 6   income tax obligations.

 7          29.     Kathleen and I retained the CPA in the Summer of 2018 to help us become

 8   compliant with our filing obligations. The CPA prepared an amended U.S. federal income tax

 9   return for us, and we promptly filed it and paid our additional liability, which amounted to $14,729.

10          30.     We filed a second amended return in March 2019 claiming a refund of the

11   additional amount we paid as a result of the Mandatory Repatriation Tax on the ground that it

12   violated the Constitution’s apportionment requirement and Due Process Clause.

13          31.     On August 30, 2019, the Internal Revenue Service mailed us a letter stating that our

14   second amended return was referred to a second office. Other than that mailing, I did not receive

15   any correspondence from the Internal Revenue Service regarding our second amended return.

16          I declare under penalty of perjury that the foregoing is true and correct.

17

18                         26th day of March, 2020 at King County, Washington.
            Executed this _____

19

20                                                         Charles G. Moore
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Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 6 of 13




                          EXHIBIT A

[KISANKRAFT CORPORATE SOCIAL RESPONSIBILITY POLICY]




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      Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 7 of 13
                                                                                     1


                                KISANKRAFT LIMITED
              (Formerly known as KisanKraft Machine Tools Private Limited)
               Corporate Identity Number (CIN): U29220KA2005PLC066051
              Regd. Office: Sri Huchhanna Tower Site # 4, #748, 7th A Cross,
          Maruthi Layout, Dasarahalli, Hebbal, Bangalore, Karnataka, India, 560024
                   Tel. No.: + 91 80 2217 8200, Fax: + 91 80 2233 1583
                                Email - info@kisankraft.com
                               Website: www.kisankraft.com




                  CORPORATE SOCIAL RESPONSIBILITY POLICY
                                     (CSR POLICY)
                  (Pursuant to Section 135 of the Companies Act, 2013)

                 Adopted by the Board of Directors on 15th November, 2017




                                     Document Control Info :


Version No: 3

Approved By CSR Committee on : 25th August, 2018

Approved By Board on : 25th August, 2018

Last updated on : 14th April, 2018

Signed by : Mr. Ravindra Kumar Agrawal, Managing Director




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KisanKraft Limited      www.kisankraft.com          CSR PolicyV3
            Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 8 of 13
                                                                                                                                                            2


                                                               Table of Contents




1. Background: ............................................................................................................................................. 3
2. Vision Statement:..................................................................................................................................... 3
3. CSR Programme Focus Areas: ................................................................................................................ 3
4. CSR Budgets:........................................................................................................................................... 4
5. Implementation Process: .......................................................................................................................... 4
6. Governance .............................................................................................................................................. 5
7. Composition of CSR Committee: ............................................................................................................ 6
8. Responsibility of CSR Committee:.......................................................................................................... 6
9. Monitoring Mechanism............................................................................................................................ 6
10. Responsibility of Board of Directors’ of the Company: .......................................................................... 7
11. Validity of CSR Policy: ........................................................................................................................... 7




………………………………………………………………………………………………………………………………………………………………
KisanKraft Limited      www.kisankraft.com          CSR PolicyV3
           Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 9 of 13
                                                                                                     3


1. Background:
     Kisankraft Limited (hereinafter ‘KKL’) has developed this Policy titled the ‘Kisankraft Limited
     – Corporate Social Responsibility Policy’ (hereinafter ‘CSR Policy’) encompassing the
     Company for being a responsible corporate citizen and lays down the principles and
     mechanisms for undertaking various programmes in accordance with Section 135 of the
     Companies Act, 2013 (‘the Act’) for the community at large.

2.       Vision Statement:
     The vision of KKL is to contribute in some way to improve the quality of life in communities
     in which we live and work.

3. CSR Programme Focus Areas:
     KisanKraft’s CSR will primarily focus on programs that:

     x    Enhance employment, among farmers and rural labour including technicians, through
          training and various vocational skill developments such as operation and repair of
          agricultural machines and equipment through training centre
     x    Educate farmers and enhance their skills, by providing training relating to operation and
          repair of agricultural machines and equipment through training centre
     x    Create sustainable livelihood opportunities for farmers and rural labour
     x    Promote education relating to different modern and scientific agricultural practices
     x    Promotion of education including special education and employment enhancing vocational
          skills especially among children, women, elderly and the differently abled and livelihood
          enhancement projects
     x    Eradicating hunger, poverty and malnutrition, promoting preventive health care and
          sanitation including contribution to the Swach Bharat Khosh set up by the Central
          government for the promotion of sanitation and making available safe drinking water
          including contribution to the Clean Ganga Fund set up by the Central Government for
          rejuvenation of river Ganga
     x    Setting up or supporting old age homes, day care centers and such other facilities for senior
          citizens
     x    Promoting gender equality, empowering women, transgender, setting up homes and hostels
          for women and orphans and measures for reducing inequalities faced by socially and
          economically backward groups
     x    Ensuring environmental sustainability, ecological balance, protection of flora and fauna,
          animal welfare, agro forestry, conservation of natural resources and maintaining quality of
          soil, air and water
     x    Protection of national heritage, art and culture including restoration of buildings and sites
          of historical importance and works of art; setting up public libraries; promotion and
          development of traditional arts and handicrafts
     x    Measures for the benefits of armed forces veterans, war widows and their dependents

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KisanKraft Limited      www.kisankraft.com          CSR PolicyV3
      Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 10 of 13
                                                                                             4


  x   Training to promote rural sports, nationally recognized sports, Paralympic sports and
      Olympic sports;
  x   Contribution to the Prime Minister’s National Relief Fund or any other fund set up by the
      Central Government or the State Government for socio-economic development and relief
      and funds for the welfare of the Scheduled Castes, the Scheduled Tribes, other backward
      classes, minorities and women and
  x   Contribution or funds provided to technology incubators located within academic
      institutions which are approved by the Central Government
  x   Rural development projects
  x   Slum area development.
  x   Promote and fund research, development, awareness of new technology and methods in all
      agriculture practices, including development of seeds, planting materials, machinery etc.
  x   Promote and fund research and development of education in any field
  x   Any other CSR activities as prescribed under the Companies Act, 2013 from time to time.


4. CSR Budgets:

  The total budget for the CSR projects will be decided by the CSR Committee as per the
  applicable provisions of the Companies Act, 2013


5. Implementation Process:

  a. KisanKraft will implement the chosen programs via KISANKRAFT FOUNDATION, a
     trust established by KisanKraft Limited. The Company will specify the CSR Programmes
     which may be undertaken by the Trusts in accordance with their Objects and administrative
     and accounting processes laid down in the respective Trust Deeds.

  b. The CSR programmes will be undertaken by the Company on the basis of need assessment
     as done by the CSR committee and approved by the Board and preference will be given to
     local areas around which it operates.

  c. The CSR activities can also be undertaken directly by the Company/ foundation or
     indirectly, through one or more registered trusts or societies or company with an
     established track record of three years in undertaking similar programs or projects.

  d. If the CSR activities are done through outside implementing agencies the CSR committee
     will specify the projects and programs to be undertaken through these agencies, the
     modality of utilisation of funds and will specify reporting mechanism to ensure proper
     monitoring.



………………………………………………………………………………………………………………………………………………………………
KisanKraft Limited      www.kisankraft.com          CSR PolicyV3
       Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 11 of 13
                                                                                             5


  e. The Company may also collaborate with other entities for undertaking CSR activities,
     projects or programmes.

  f. The CSR committee may if need arises formulate special team to help it regulate, manage
     and monitor various activities. The team will have 2 or more members as deemed fit by the
     committee, the key responsibilities, role and reporting mechanism of the team shall be
     clearly defined by the CSR committee.

  g. The CSR activities, projects or programs will be undertaken in India only.

  h. The CSR funds shall not be given directly or indirectly to any political party.

  i.   Any surplus arising out of CSR activities, projects or programmes shall not form part of
       business profit of the Company.


6. Governance

  a. Every year, the CSR Committee will place for the Board's approval, a CSR Plan delineating
     the CSR Programmes to be carried out during the financial year and the specified budgets
     thereof. The Board will consider and approve the CSR Plan with or without any
     modification that may be deemed necessary.

  b. The CSR committee will assign the task of implementation of the CSR Plan within
     specified budgets and timeframes to such persons or bodies or entities as it may deem fit.

  c. The persons/bodies/entities to which the implementation is assigned will carry out such
     CSR Programmes as determined by the CSR committee within the specified budgets and
     timeframes and report back to the CSR committee on the progress thereon at such
     frequency as the CSR committee may direct.

  d. The CSR committee shall review the implementation of the CSR Programmes on a regular
     basis and issue necessary directions from time to time to ensure orderly and efficient
     execution of the CSR Programmes in accordance with this Policy.

  e. Every quarter, the CSR committee will provide a status update to the Board on the progress
     of implementation of the approved CSR Programmes carried out during the period. It shall
     be the responsibility of the CSR Committee to keep the Board apprised of the status of
     implementation of the same.

  f. At the end of every financial year, the CSR Committee will submit its detailed report to
     the Board.

………………………………………………………………………………………………………………………………………………………………
KisanKraft Limited      www.kisankraft.com          CSR PolicyV3
     Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 12 of 13
                                                                                              6


7. Composition of CSR Committee:
  The composition of CSR committee of the Board is as follows:

   Sl.   Name of the Member                Designation     Category
   No.
   1     Mrs. Sarika Agrawal         Chairperson           Whole Time Director
   2     Mr. Ravindra Kumar Agrawal Member                 Managing Director
   3     Mr. Ramkumar Krishnamachari Member                Independent director


8. Responsibility of CSR Committee:
  a. Formulate and recommend CSR Policy to Board for approval
  b. Monitor the policy from time to time and recommend changes to the Board
  c. Recommend CSR activities, projects or programmes which are in line with the activities
     specified in Schedule VII, to be undertaken by the Company.
  d. Recommend the amount of expenditure to be incurred on CSR activities, projects or
     programmes to be undertaken by the Company.
  e. Constitute a transparent monitoring mechanism for ensuring implementation of CSR
     activities, projects or programmes to be undertaken by the Company.
  f. Constitute CSR team consisting of requisite number of persons appropriate to undertake
     its CSR activities, projects or programmes on an on-going basis.
  g. Review quarterly reporting made by CSR team for each activities, projects or programmes
     undertaken by the Company from time to time.


9. Monitoring Mechanism

  a. Each of the CSR projects and programmes would have clearly defined objective, output/
     outcome and process indicators.
  b. Reporting with respect to each project or program will have to be done at specified
     frequencies not less than once in a quarter i.e The CSR Committee will receive quarterly
     progress reports of all CSR activities, projects or programmes of the company.
  c. All projects and programmes may be monitored by the CSR Committee itself or through
     the special team formed for the purpose. The monitoring process will cover both
     programmes and financial reviews.
  d. The special team formed by the committee may ensure the satisfactory implementation of
     projects/programmes undertaken through onsite visit and surveys in the specified areas or
     any other means as may be deemed fit.
  e. All projects and programmes will be subjected to an annual financial audit by a third-party
     auditor.




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KisanKraft Limited      www.kisankraft.com          CSR PolicyV3
      Case 2:19-cv-01539-JCC Document 29-3 Filed 03/27/20 Page 13 of 13
                                                                                                 7


10. Responsibility of Board of Directors’ of the Company:

   a. Approval of CSR policy of the Company after taking into account the recommendations
      made by CSR Committee
   b. Disclosing the content of the Policy in its report and placing the Policy on the Company’s
      website in such manner as prescribed under Section 135 of the Act read with the Companies
      (Corporate Social Responsibility Policy) Rules, 2014.(‘CSR Rules’)
   c. Ensuring that the activities as are included in the Policy are undertaken by the Company
   d. Ensuring that the Company endeavours to spend the amount as decided by the CSR
      committee as per the applicable provisions of the Companies Act, 2013
   e. Ensuring that the board’s report includes an annual report on CSR containing the
      particulars as per the annexure provided in Companies (Corporate Social Responsibility)
      Rules, 2014.
   f. Ensuring that it specifies the reasons in its report for not spending the allocated amount in
      case the Company fails to spend such amount


11. Validity of CSR Policy:

The Board shall review the CSR policy once a year or more and may amend as may be required.




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